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  2                                                           09-08-2021
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                                                   CENTRAL DISTRICT OF CALIFORNIA
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      Monitor                                         BY: ___________________ DEPUTY
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  6
                          UNITED STATES DISTRICT COURT
  7
                         CENTRAL DISTRICT OF CALIFORNIA
  8
                                      WESTERN DIVISION
  9
 10                                              CV No. 15-05903 DDP (JEMX)
 11   UNITED STATES OF AMERICA,
                         Plaintiff,              MONITOR’S TWELFTH REPORT
 12
                                                 AND REQUEST FOR A STATUS
 13                      v.                      CONFERENCE
 14   COUNTY OF LOS ANGELES AND
      LOS ANGELES COUNTY SHERIFF
 15   ALEX VILLANUEVA, in his Official
      Capacity,
 16
                         Defendants.
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                                                          Case No. CV No. 15-05903 DDP (JEMX)
                MONITOR'S TWELFTH REPORT AND REQUEST FOR A STATUS CONFERENCE
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  1         Pursuant to Paragraph 109 of the Joint Settlement Agreement Regarding Los
  2 Angeles County Jails, the Monitor appointed by this Court hereby submits the
  3 attached Report “describing the steps taken” by the County of Los Angeles and the
  4 Los Angeles County Sheriff Department (“Department”) during the six-month
  5 period from January 1, 2021, through June 30, 2021, “to implement the Agreement
  6 and evaluating the extent to which they have complied with this Agreement.” This
  7 Report takes into consideration the advice and assistance I have received from the
  8 Subject Matter Experts appointed by this Court and the comments from the Parties
  9 in accordance with Paragraph 110 of the Agreement.
 10
            As set forth in the Report, there are 69 provisions in the Agreement that are
 11
      subject to monitoring. Six years into the implementation of the Agreement, the
 12
      County and the Department are in Substantial Compliance with 38 provisions, in
 13
      Partial Compliance with 18 provisions, in Substantial Compliance with six
 14
      provisions at some facilities, in Partial or Non-Compliance at other facilities, in
 15
      Non-Compliance with six provisions at all facilities, and there is one provision for
 16
      which compliance is suspended.
 17
 18         In or about January 2021, the Parties began to engage in discussions with the
 19 Monitor regarding the development of an Implementation Plan to address the
 20 provisions that remain Non-Compliant or Partially Compliant. The Parties have
 21 continued to discuss this with the Monitor in good faith, however, as of the date of
 22 this Report, these discussions have not meaningfully progressed. Concurrent with
 23 the filing of this Report, therefore, the Monitor respectfully requests a status
 24 conference with the Court in the hopes of furthering progress on the development
 25 and adoption of such a plan. I am also available to answer any questions the Court
 26 may have regarding the Report at such times as are convenient for the Court.
 27
 28

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  1 DATED: September 8, 2021           Respectfully submitted,
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  3
  4
                                       By: /s/ Nicholas E. Mitchell
  5                                        Nicholas E. Mitchell
                                           Monitor
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   NO.       PROVISION                      STATUS                            SUBSTANTIAL
                                                                              COMPLIANCE
                                                                              DATES

  18         Suicide Prevention Training    Substantial Compliance            (10/1/17 at MCJ &
                                                                              PDC South) 1
                                                                              (9/1/17 at NCCF)
                                                                              (12/1/17 at PDC
                                                                              East)
                                                                              (4/1/18 at TTCF,
                                                                              IRC, & PDC North)
                                                                              (8/1/18 at CRDF)

  19         Crisis Intervention &          Substantial Compliance            (4/1/18 at MCJ,
             Conflict Resolution Training                                     NCCF, & IRC)
                                                                              (7/1/18 at TTCF)
                                                                              (12/1/18 at CRDF,
                                                                              PDC East, & PDC
                                                                              North)
                                                                              (3/1/19 at PDC
                                                                              South)

  20         Training at NCCF, PDC and      Substantial Compliance            (8/1/17 at PDC East,
             CRDF                                                             PDC North, NCCF,
                                                                              & CRDF)
                                                                              (10/1/17 at PDC
                                                                              South)

  21         CPR Certification              Substantial Compliance            (10/1/15 – 9/30/16 at
                                                                              PDC East & PDC
                                                                              South)
                                                                              (1/1/16 – 12/31/16 at
                                                                              NCCF, PDC North,
                                                                              & IRC)
                                                                              (4/1/16 – 3/31/17 at
                                                                              TTCF)
                                                                              (10/1/17 – 9/30/18 at
                                                                              MCJ)
                                                                              (7/1/18 – 6/30/19 at
                                                                              CRDF)

         1
         Substantial Compliance Dates in bold reflect that the Department has achieved
 Substantial Compliance with the training requirements or maintained Substantial Compliance for
 twelve consecutive months with the other requirements; the results were verified by the
 Monitor's auditors when required; and the County or designated facilities are no longer subject to
 monitoring of this provision pursuant to Paragraph 111 of the Settlement Agreement.
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  22    Use of Arresting and            Substantial Compliance         (7/1/16 – 6/30/17)
        Booking Documents

  23    Suicide Hazard Mitigation       Substantial Compliance         (7/12/18)
        Plans

  24    Suicide Hazard Inspection       Substantial Compliance         (10/1/17 – 9/30/18)

  25    Transportation of Suicidal      Partial Compliance
        Inmates (station jails)

  26    Identification and Evaluation   Partial Compliance
        of Suicidal Inmates

  27    Screening for Mental Health     Substantial Compliance         (10/1/19 – 3/31/20,
        Care and Suicide Risk                                          10/1/20 – 3/31/21)

  28    Expedited Booking of            Substantial Compliance (IRC)   (4/1/17 – 3/31/18 at
        Suicidal Inmates                Partial Compliance (CRDF)      IRC)

  29    Mental Health Assessments       Substantial Compliance         (4/1/17 – 3/31/18)
        (of non-emergent mental
        health needs)

  30    Initial Mental Health           Substantial Compliance         (1/1/19 – 12/31/19)
        Assessments & Treatment
        Plans

  31    Electronic Medical Records      Partial Compliance
        Alerts

  32    Electronic Medical Records      Substantial Compliance         (1/1/16 – 12/31/16)
        – Suicide Attempts

  33    Supervisor Reviews of           Substantial Compliance         (7/1/16 – 6/30/17)
        Electronic Medical Records

  34    Discharge Planning              Partial Compliance

  35    Referral for Mental Health      Substantial Compliance         (11/1/17 – 12/31/18)
        Care

  36    Assessments After               Partial Compliance
        Triggering Events
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  37    Court Services Division          Partial Compliance
        Referrals

  38    Weekly Rounds in Restricted      Substantial Compliance           (1/1/16 – 12/31/16)
        Housing Modules

  39    Confidential Self-Referral       Substantial Compliance (NCCF)    (7/1/17 – 6/30/18 at
                                         Partial Compliance (PDC North,   NCCF)
                                         TTCF, MCJ, & CRDF)
                                         Not Rated (PDC East & PDC
                                         South)

  40    Availability of QMHPs            Partial Compliance

  41    FIP Step-Down Protocols          Partial Compliance

  42    HOH Step-Down Protocols          Compliance Suspended

  43    Disciplinary Policies            Substantial Compliance (NCCF     (10/1/17 – 9/30/18 at
                                         & PDC North)                     NCCF & PDC
                                         Non-Compliance (CRDF, MCJ,       North)
                                         & TTCF)

  44    Protective Barriers              Substantial Compliance           (1/1/16 – 12/31/16)

  45    Suicide Intervention and         Substantial Compliance           (10/1/15 – 9/30/16 at
        First Aid Kits                                                    CRDF, NCCF,
                                                                          TTCF, PDC East, &
                                                                          PDC South)
                                                                          (1/1/16 – 12/31/16 at
                                                                          MCJ & PDC North)

  46    Interruption of Self-Injurious   Substantial Compliance           (7/1/20 – 3/31/21)
        Behavior

  47    Staffing Requirements            Non-Compliance

  48    Housekeeping and Sanitation      Substantial Compliance           (1/1/16 – 12/31/16)

  49    Maintenance Plans                Substantial Compliance           (3/1/16 – 2/28/17)
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  50        Pest Control                 Substantial Compliance             (1/1/16 – 12/31/16 at
                                                                            MCJ, NCCF, PDC
                                                                            North, TTCF, &
                                                                            CRDF)
                                                                            (4/1/16 – 3/31/17 at
                                                                            PDC South & PDC
                                                                            East)

  51        Personal Care & Supplies     Substantial Compliance             (1/1/16 – 12/31/16
                                                                            at MCJ, NCCF,
                                                                            PDC East, PDC
                                                                            North, PDC South,
                                                                            & TTCF)
                                                                            (7/1/16 – 6/30/17 at
                                                                            CRDF)

  52        HOH Property Restrictions    Partial Compliance

  53        Eligibility for Education,   Partial Compliance
            Work and Programs

  54        Privileges and Programs 2    Substantial Compliance             (1/1/20 – 6/30/20)

  55        Staff Meetings               Substantial Compliance             (10/1/16 – 9/30/17 at
                                                                            CRDF)
                                                                            (4/1/17 – 3/31/18 at
                                                                            PDC North)
                                                                            (4/1/18 – 3/31/19 at
                                                                            MCJ)
                                                                            (7/1/19 – 6/30/20 at
                                                                            TTCF)

  56        Changes in Housing           Substantial Compliance             (1/1/16 – 12/31/16)
            Assignments

  57        Inmate Safety Checks in      Substantial Compliance (MCJ)       (4/1/17 – 3/31/18 at
            Mental Housing               Partial Compliance (TTCF, PDC      MCJ)
                                         North, & CRDF)




        2
          Per agreement of the parties, the County must maintain Substantial Compliance for two
 additional quarters under the revised Compliance Measures.
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  58    Inmate Safety Checks in     Substantial Compliance (PDC   (1/1/16 – 12/31/16 at
        Non-Mental Housing          South, PDC North, PDC East,   PDC South, PDC
                                    CRDF, IRC, & NCCF)            North, & PDC East)
                                    Partial Compliance (TTCF)     (7/1/17 – 6/30/18 at
                                    Non-Compliance (MCJ)          CRDF)
                                                                  (10/1/17 – 9/30/18 at
                                                                  IRC)
                                                                  (4/1/20 – 3/31/21 at
                                                                  NCCF)

  59    Supervisor Rounds           Substantial Compliance        (1/1/17 – 12/31/17 at
                                                                  PDC East & MCJ)
                                                                  (4/1/17 – 3/31/18 at
                                                                  NCCF)
                                                                  (10/1/17 – 9/30/18 at
                                                                  CRDF)
                                                                  (1/1/18 – 12/31/18 at
                                                                  PDC North & PDC
                                                                  South)
                                                                  (4/1/18 – 3/31/19 at
                                                                  TTCF)

  60    Implementation of Quality   Substantial Compliance        (4/1/19 – 3/31/20)
        Improvement Program

  61    Requirements of Quality     Partial Compliance
        Improvement Program

  62    Tracking of Corrective      Partial Compliance
        Action Plans

  63    Sufficient HOH and MOH      Non-Compliance
        Housing

  64    Plans for Availability of   Non-Compliance
        Inpatient Health Care

  65    Administration of           Partial Compliance
        Psychotropic Medication

  66    Active Mental Health        Non-Compliance
        Caseloads

  67    Prisoner Refusals of        Partial Compliance
        Medication
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  68    Contraband Searches           Substantial Compliance (MCJ,   (1/1/16 – 12/31/16 at
                                      NCCF, PDC East, PDC South      MCJ, NCCF, PDC
                                      PDC North, & TTCF)             East, PDC South, &
                                      Partial Compliance (CRDF)      PDC North)
                                                                     (1/1/17 – 12/31/17 at
                                                                     TTCF)

  69    Clinical Restraints in CTC    Substantial Compliance         (7/1/18 – 6/30/19)

  70    Security Restraints in HOH    Partial Compliance
        and MOH

  71    Therapeutic Services for       Substantial Compliance        (7/1/16 – 6/30/17)
        Inmates in Clinical Restraints

  72    Administrative Reviews        Substantial Compliance         (1/1/17 – 12/31/17)

  73    Reporting of Self-Injurious   Substantial Compliance         (10/1/17 – 9/30/18)
        Behavior and Threats

  74    Law Enforcement               Substantial Compliance         (9/1/16 – 12/31/17)
        Investigations of Suicides

  75    Management Reviews of         Substantial Compliance         (10/1/17 – 9/30/18)
        Suicide Attempts

  76    Management Reviews of         Substantial Compliance         (9/1/16 – 12/31/17)
        Suicides

  77    Custody Compliance and        Partial Compliance
        Sustainability Bureau

  78    Suicide Prevention Advisory   Substantial Compliance         (5/11/16 – 5/18/17)
        Committee

  79    Therapeutic Services in       Non-Compliance
        Mental Health Housing

  80    Out-of-Cell Time in HOH       Non-Compliance

  81    Implementation of Rosas       Partial Compliance
        Recommendations
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  82    Grievances at CRDF          Substantial Compliance   (7/15/16 – 12/31/17)

  83    Closed Circuit Cameras      Substantial Compliance   (7/1/15 – 6/30/16 at
                                                             MCJ & IRC)
                                                             (10/1/15 – 9/30/16 at
                                                             TTCF)
                                                             (4/1/16 – 3/31/17 at
                                                             CRDF)
                                                             (4/1/18 – 3/31/19 at
                                                             NCCF & PDC
                                                             North)
                                                             (7/1/18 –6/30/19 at
                                                             PDC South)

  84    Investigation of Staff      Substantial Compliance   (7/1/17 – 6/30/18)
        Misconduct

  85    Internal Affairs Bureau     Partial Compliance
        Training

  86    Maintenance and Inventory   Substantial Compliance   (4/1/16 – 3/31/17 at
        of Security Equipment                                MCJ & CRDF)
                                                             (10/1/16 – 12/31/17 at
                                                             PDC North)
                                                             (2/1/17 – 3/31/18 at
                                                             PDC South & PDC
                                                             East)
                                                             (3/1/17 – 3/31/18 at
                                                             NCCF)
                                                             (4/1/17 – 3/31/18 at
                                                             IRC)
                                                             (4/1/18 – 3/31/19 at
                                                             TTCF)
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